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ROBERT EMERT
Respondent, In Pro Per                                          FILED)
235 l VlSTA LAGO TERRACE
ESCONDIDO, CA 92029                                             MAR 1 4 2025
TELEPHONE: 760-612-9328
                                                           CLERK. U.S. DISTRICT COURT
robcmert@msn.com                                        SOUTHERN DISTA i T OF CALIFOPNIA
                                                       BY=--                     DEPUTY



                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA




                                             Case No. 3:24-cv-00671-JO-BJC
 Robe1t Emert
                                             MOTION FOR MANDATORY
                Plaintiff,                   JURISDICTIONAL ADJUDICATION
       V.                                    UNDER FRCP 12(h)(3) AND
                                             DECLARATORY JUDGMENT UNDER
SAN DI EGO BOARD OF SUPERVISORS,             28 U.S.C. § 2201 PRIOR TO
et a l.,                                     CONSIDERING MOTION TO
                                             DISMISS, WITH HEARING
                Defendants.                  REQUESTED

                                             Hearing Date : TBD
                                             T ime:         T BD
                                             Department: 4C
                                             Judge: Hon. Jinsook O hta




1. Introduction
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Plaintiff Robert Emert, prose, asse11s this Court's unequivocal responsibility, as
required by FRCP 12(h)(3) and Steel Co. v. Citizens for a Better Env't, 523 U.S.
83 (1998), to rule immediately on whether Commissioner Patti Ratekin lost
jurisdiction on February 9, 2021, due to her invalid denial of Plaintiffs time.ly CCP
§ 170.6 peremptory challenge (Exhibit A). The court transcript (Exhibit B)
confirms no orders were issued and no arguments heard prior to the challenge,
establishing its validity under California law. This presents a pure question of law
requiring no factual development beyond Exhibits A and B. This Court must rule
on this defect, which can be raised at any time (Arbaugh v. Y&H Corp., 546 U.S.
500 (2006)), before addressing defendants' Motion to Dismiss (filed Jan. 13, 2025)
(Steel Co., 523 U.S. at 94-95; Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574
(] 999)). The defect controls jurisdiction over Plaintiffs § 1983 claim . Plaintiff
requests a hearing and declaratory relief under 28 U.S.C. § 2201. His STEMI heart
attack (Dec. l 0, 2024) tolls deadlines, and he awaits a ruling on his First Am ended
Complaint (FAC) motion (filed Feb. 10, 2025).

2. Procedural Background

April 12, 2024: Complaint filed .


Dec. 10, 2024: Plaintiff suffered a STEMI heart attack.


Jan. 13, 2025: Defendants filed Motion to Dismiss.

Feb. 12, 2025: Court extended opposition to March 6, 2025 , as an ADA
accommodation (42 U.S.C. § 12 132) due to Plaintiff' s disabling STEMJ hemt
attack; FAC " under submission."


March 13, 2025: Cun-ent elate; FAC ruling pending.

3. Factual Background

Feb. 9, 2021: Plaintiff fil ed a timely§ 170.6 peremptory challenge against Ratekin
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(Complaint p. 16, Exhibit A). The cou11 transcript (Exhibit B) proves no orders
were issued or arguments heard prior, making the challenge valid. Ratekin denied
it, stripping her jurisdiction over subsequent proceedings. This legal battle caused
Plaintiffs STEMJ heart attacks (Sept. 29, 2021 , and Dec. I 0, 2024) and irreparable
harm as a stay-at-home dad separated from his children.

4. Legal Authority

FRCP 12(h)(3): "If the court determines at any time that it lacks subject-matter
jurisdiction, the court must dismiss the action."


Jurisdictional Duty: Defects can be raised anytime; comts must rule (Arbaugh,
546 U.S. at 514; Steel Co., 523 U.S. at 94-95).


28 U.S.C. § 2201: Authorizes declaratory relief in actual controversies.

28 U.S.C. § 1331: Grants jurisdiction over§ 1983 claims.

42 U.S.C. § 1983: Protects against constitutional violations under state law.


Federal Review: State orders issued without jurisdiction are reviewable. Rooker-
Feldman does not bar review ofsuch orders, which are void ab initio and exempt
from preclusion. Kougasian v. TMSL, Inc., 359 F.3d I 136, 1140 (9th Cir. 2004);
United Student Aid Funds v. Espinosa, 559 U.S. 260, 271 (2010).


California Law: Improper § 170.6 denial strips jurisdiction (People v. Superior
Court (Lavi), 4 Cal.4th 1164, 1171 (1992)).

5. Argument

A. FRCP 12(h)(3) Requires a Ruling on the .Jurisdictional Defect


This Court must rule on whether Ratekin lost jurisdiction on Feb. 9, 202 1, due to
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her invalid denial of a valid § 170.6 challenge (Exhibit A). Exhibit B proves its
timeliness and validity. FRCP 12(h)(3) mandates a dete1mination "at any tim e"
(Arbaugh, 546 U.S. at 514), before merits (Steel Co., 523 U.S. at 94-95). Ratekin' s
refusal stripped her jurisdiction (J ,avi, 4 Cal.4th at 1172), affecting subsequent
proceedings and defining this Court's authority under 28 U.S.C. §§ 1331 and 1343
(Espinosa, 559 U.S. at 271; Kougasian , 359 F.3d at l J 40). This is a pure question
oflaw based on Exhibits A and B, preceding defendants' dismissal arguments.

B. Declaratory Relief and Hearing Under 28 U.S.C. § 2201


Plaintiff seeks a declaration under 28 U.S.C. § 2201 that Ratekin lacked
jurisdiction after Feb. 9, 2021 , based on Exhibit A and B, with a hearing to
confirm.

C. Equity and Timing


Plaintiffs STEMI heart attacks (Sept. 29, 2021 , and Dec. 10, 2024), a disability
under the ADA (42 U.S.C. § 12102), tolled the March 6 opposition deadline
(Holland v. Florida, 560 U.S. 631 (2010)). As a pro se litigant with a continuing
disability, he requests an ADA accommodation (42 U.S.C. § 12132) for late
opposition or FAC inclus ion (Haines v. Kerner, 404 U.S. 519 (1972)).

6. Relief Requested

1. Rule, as required by FRCP 12(h)(3), and declare under 28 U.S.C. § 2201, that
Ratekin lost jurisdiction on Feb. 9, 202 1, based on Exhibit A and B, with a hearing.

2. Hold defendants' Motion to Dismiss in abeyance pend ing this ruling.


3. If jurisdiction is confirmed lost, Plaintiff requests leave to file an ex parte TRO
under FRCP 65(b).


4. Accept late opposition nunc pro tune as an ADA accommodation (42 U.S.C. §
12132), or allow dismissal arguments in the FAC.
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7. Conclusion

Plaintiff has suffered irreparable harm from Ratekin's invalid § 170.6 denial on
Feb. 9, 202 I , stripping her jurisdiction. This caused two STEMI heart attacks, 90
days' detention, and separation from his children as a stay-at-home dad. This
Court's intervention is demanded by precedent and equity. Refusal to act would
warrant scrutiny by the House Judiciary Committee and DOJ Civil Rights
Division.

Exhibit C confirms no narrative can salvage Ratekin's jurisdiction. This Court
must remedy this by ruling on the defect evidenced by Exhibits A and B.

Declaration of Robert Emert


I, Robert Emert, declare under penalty of perjury under 28 U.S.C. § 1746: On Feb.
9, 2021 , I fil ed a valid§ l 70.6 challenge against Ratekin (Exhibit A); Exhibit B
confirms no prior orders or arguments. Her denial caused this legal battle,
triggering STEMI heart attacks on Sept. 29, 2021 , and Dec. I 0, 2024, impairing


at Escondido, CA. \
Attachments:       ~~
                             J\lvl\ J<
my response by March 6, 2025. I await an FAC ruling. Executed March 13 , 2025,
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   • Exhibit A: CCP § l 70.6 Challenge, Filed Feb. 9, 2021
   • Exhibit B: Transcript, Feb. 9, 2021 Hearing
   • Exhibit C: Supplemental C itations Under CivLR 7.1(h)(])




Proof of Service
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I, Robert Emert, declare that on March 13, 2025, I served the foregoi ng Motion for
Mandatory Jurisdictional Adjudication Under FRCP 12(h)(3) and Declaratory
Judgment Under 28 U.S.C. § 2201, with attached Exhibits A, B, and C, on all
parties by electronic mail pursuant to FRCP 5(b)(2)(E) and C ivLR 5.4, to the
following:

Austin Uhler
Counsel for Defendants
Austin. Uhler(a),sdcounty .ca.gov

I declare under penalty of pe1jury under the laws of the United States that the
foregoing is true and correct. Executed on March 13, 2025, at Escondido, CA.

Robert Emert


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